                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

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                              )
UNITED STATES OF AMERICA )
                              )
      v.                      )
                              )             CRIMINAL NO. 19-cr-10335-DJC
TANMAYA KABRA,                )
            Defendant.        )
                              )
______________________________)

                            JOINT INTERIM STATUS REPORT

       Pursuant to Local Rule 116.5(b), the parties hereby file the following joint interim status

report prepared in connection with the interim status conference scheduled for January 9, 2020.

1)     Automatic Discovery/Pending Discovery Requests

       The Government provided automatic discovery to the defendant on October 11 and
       October 17, 2019 and provided supplemental discovery on October 24, November 18,
       December 11, and December 27, 2019.

2)     Additional Discovery

       The Government anticipates receiving further productions of documents in this case and
       anticipates it will provide additional discovery when it receives these productions.

3)     Timing of Additional Discovery Requests

       Defendant is reviewing discovery and, at this time, is reserving the need for further
       discovery requests.

4)     Protective Orders

       The Court has entered a protective order in this matter. See Doc. No. 55.

5)     Pretrial Motions

       The defendant has not filed any pretrial motions under Fed. R. Crim. P. 12(b). He reserves
       the right to file such a motion or motions after additional review of the discovery.
6)    Expert Discovery

      The Government agrees to provide any expert witness disclosures 45 days prior to trial.
      The Defendant agrees to provide any expert witness disclosures 30 days prior to trial.

7)    Defenses of Insanity, Public Authority, or Alibi

      The defendant does not presently intend to assert a defense of insanity, public authority,
      or alibi.

8)    Speedy Trial Act

      The time from the date of the arraignment through September 27, 2019 is automatically
      excludable because of the then-pendency of the Defendant’s Motion to Revoke Detention
      Order and for Pretrial Release. See 18 U.S.C. §§ 3161(h)(1)(D), (H). All of the time has
      been excluded from September 27, 2019 through January 9, 2020.

      The parties request that the time be excluded from January 9, 2020 until the next
      scheduled status conference.

9)    Status of Plea Discussions and Likelihood of Trial

      The parties have not discussed a plea disposition. The parties estimate that a trial in this
      matter would last five weeks.

10)   Next Status Conference

      Given the foregoing, and in light of the significant volume of discovery that has recently
      been produced by the Government, the parties request that the interim conference
      scheduled for January 9, 2020 be cancelled and a further interim status conference be
      scheduled in approximately 45 days.




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Respectfully submitted,

 TANMAYA KABRA,                                       UNITED STATES OF AMERICA,

 By his attorneys,                                    By its attorney,

 /s/ Mark A. Berthiaume                               ANDREW E. LELLING
 Mark A. Berthiaume                                   United States Attorney
 Angela Bunnell
 Greenberg Traurig                                    /s/ Chris Looney
 One International Place, Suite 2000                  Christopher Looney
 Boston, MA 02110                                     Assistant United States Attorney
 617.310.6007                                         408 Atlantic Avenue, Suite 530
                                                      Boston, MA 02210
                                                      (617) 748-3287


Dated: January 2, 2020



                                 CERTIFICATE OF SERVICE

        Undersigned counsel certifies that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants.

                                               /s/ Chris Looney
                                               Christopher Looney
                                               Assistant United States Attorney
Dated: January 2, 2020




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